            Case 4:23-cr-00051-EWH-DEM Document 46 Filed 09/25/23 Page 1 of 1 PageID# 134
AO 442 (Rev, 11/11) Arrest Warrant



                                          United States District Court
                                                                     for the
                                                                                                                                   G
                                                          Eastern District of Virginia

                      United States of America
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                                                                                             4:23CR51
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                       DATWAN K. WATSON                                                                                            C/^p3
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                             Defendant                                                                                       >     >
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                                                        ARREST WARRANT                                                       4="
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To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)        DaTwan K. Watson
who is accused of an offense or violation based on the following document filed with the court:


□     Indictment               Superseding Indictment         □ Information         □ Superseding Information                 □ Complaint
O     Probation Violation Petition           □ Supervised Release Violation Petition           □ Violation Notice              □ Order of the Court


This offense is briefly described as follows:
    T,18:1951(a) and 2 - Conspiracy to Interfere with Commerce by Robbery (Count One, et al.)




Date:           08/15/2023
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                                                                                                Issu



City and state:          Norfolk, Virginia                                            Douglas E. Miller. U.S. Magistrate Judge
                                                                                                  Printed name and title



                                                                    Return


          This warrant was received on (date)       _   'B11 b Cs          _, and the person was arrested on (date)                              22/23
at (city and slate)                      ●g^ACrt, VA


Date:           q zs\z3
                                                                                                Westin^ficer ‘s sigrtdliire


                                                                                                  Printed name and title
